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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION



 LINDA MOISE, an individual,                                    CIVIL ACTION

                        Plaintiffs,
                                                                Case No. 2:20-cv-102
 v.
                                                                Judge:
 THE SCHOOL BOARD OF COLLIER COUNTY, a
 political subdivision of the State of Florida,                 Mag. Judge:

                        Defendant.



                     COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COMES the Plaintiff, LINDA MOISE (“MOISE” or “Plaintiff”), by and through

undersigned counsel, and states the following for his Complaint:

                                      CAUSES OF ACTION

       1.      This is an action brought under the federal Rehabilitation Act of 1973 (“Rehab

Act”), as amended, for disability discrimination, and under Florida’s Public Whistleblower Act

(PWA) and F.S. §440.205 for unlawful retaliation.

                                            PARTIES

       2.      The Plaintiff, LINDA MOISE (“MOISE”) is an individual, a United States citizen

and at all relevant times has been, and is, domiciled within Collier County, Florida.

       3.      Defendant, DISTRICT SCHOOL BOARD OF COLLIER COUNTY

(“Defendant”) is a political subdivision of the state of Florida and oversees the public school

system in and for Collier County, Florida. The Defendant was MOISE’s employer. The Defendant

receives in excess of $1,000,000.00 annually from the federal government in financial assistance.

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At all material times, the Defendant employed more than ten employees and was the employer of

MOISE as defined by the Rehab Act and PWA.

                                 JURISDICTION AND VENUE

        4.      This Court has jurisdiction of this matter under 28 U.S.C. §1331.

        5.      This Court has supplemental jurisdiction over the Plaintiffs’ state law claims

pursuant to 28 U.S.C. § 1367.

        6.      Venue is proper in the United States District Court for the Middle District of Florida

because the Plaintiff resides in, and the Defendant conducts business in, and some or all of the

events giving rise to Plaintiff’s claims occurred in Collier County, Florida, which is within the

Middle District of Florida. Venue is proper in the Fort Myers Division under Local Rule 1.02(b)(5)

since the action accrued in Collier County, which is within the Fort Myers Division.

                                   GENERAL ALLEGATIONS

        7.      MOISE began her employment with the Defendant on August 8, 2019 as an

assistant principal.

        8.      MOISE always performed her assigned duties in a professional manner and was

very well qualified for her position.

        9.      MOISE always received praise in her performance and never received any

criticisms about her performance until after she suffered a physical battery by a student that left

her with disabilities.

        10.     On October 30, 2019, MOISE was the victim of an attack by a student with

disabilities, which student also threatened to kill her.

        11.     The attack left MOISE unable to work for two consecutive days and required her

to engage in rehabilitative services for her injuries.



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       12.     MOISE reported her workplace injuries that same day and a worker’s

compensation case was opened. She also pressed charges against the student that attacked her.

       13.     Section 504 of the Rehab Act prohibits recipients of federal financial assistance

from discriminating against qualified individuals with disabilities in employment.

       14.     As a result of the attack, MOISE became a qualified person with a disability as she

developed an impairment of the musculoskeletal system and mental/emotional system, which

limits her ability to perform certain major life activities, including her movement and thought

processes.

       15.     MOISE has a history of these impairments that limits major bodily functions and

several major life activities. MOISE’s impairments qualify as a disability as that term is defined

under 28 C.F.R. §36.104(iii).

       16.     On October 31, 2019, MOISE sent her principal a signed, written complaint

regarding the Defendant not completing legally required behavioral threat assessments – and thus

the Defendant’s violations of the Rehab Act, the IDEA and/or Marjorie Stoneman Douglas Act,

and her decision to move forward to press charges against the student. On November 3, 2019,

MOISE sent her principal a signed, written complaint regarding her return to work being unsafe

as a result of having to supervise the student that attacked her, which concerned the Defendant’s

noncompliance with the Rehab Act and the IDEA, and Marjorie Stoneman Douglas Act. MOISE

also requested to return to work with the accommodation of not having to be in the presence of the

student that attacked her and threatened to kill her.

       17.     In response, her principal warned MOISE that she “better be more careful about

what she puts in writing. On December 5, 2019, MOISE sent her principal a signed, written

complaint regarding her return to work being unsafe as a result of having to supervise the student



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that attacked her, which concerned the Defendant’s noncompliance with the Rehab Act and the

IDEA because the student that attacked her – and many others across the school district as a whole

– had not had their legally required behavioral assessments done and that there was no full-time

behavioralist on staff as required. MOISE also requested to return to work with the

accommodation of not having to supervise the student that attacked her and threatened to kill her.

       18.      The Defendant demanded she return to work, offering only to reinstate her if she

accepted a demotion to return as a middle school teacher, a demotion to return as a first-grade

teacher, or return to her assistant principal position with the only accommodation being for lifting

and standing.

       19.      MOISE responded by requesting a transfer to any vacant assistant principal

position at another one of the Defendant’s schools.

       20.      But despite several such positions being open, the Defendant refused.

       21.      MOISE, however, insisted on a transfer to another vacant assistant principal

position since that is a reasonable accommodation.

       22.      Nevertheless, the Defendant refused and then terminated MOISE on or about

December 18, 2019 when she declined to accept the unreasonable accommodations offered by the

Defendant.

             COUNT I – VIOLATION OF THE REHAB ACT, AS AMENDED

       23.      Plaintiff incorporates by reference Paragraphs 1-22 of this Complaint as though

fully set forth below.

       24.      At all relevant times, MOISE was an individual with a disability within the

meaning of the Rehab Act.




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       25.     Specifically, MOISE has physical impairments that substantially limit one or more

of her major life activities and bodily functions, has a record of the impairment, and is regarded

by the Defendant as having such impairments.

       26.     MOISE is a qualified individual with disabilities as that term is defined in the

Rehab Act.

       27.     MOISE is an individual who, with or without reasonable accommodation, at all

relevant times could perform the essential functions of her job with the Defendant.

       28.     At all material times, MOISE was an employee and the Defendant was her

employer covered by and within the meaning of the Rehab Act.

       29.     The Defendant was made aware and was aware of MOISE’s disabilities, which

qualify under the Rehab Act.

       30.     The Defendant discriminated against MOISE with respect to the terms, conditions,

and privileges of employment because of her disabilities.

       31.     The Defendant conducted itself with malice or with reckless indifference to

MOISE’s federally protected rights.

       32.     The Defendant discriminated against MOISE in violation of the Rehab Act by

interfering with her enjoyment of all benefits, privileges, terms, and conditions of his employment.

       33.     The conduct of the Defendant altered the terms and conditions of MOISE’s

employment and MOISE suffered negative employment action in the form of discipline and

termination.

       34.     As a direct and proximate result of the violations of the Rehab Act, as referenced

and cited herein, MOISE has lost all of the benefits and privileges of her employment and has




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been substantially and significantly injured in her career path that was anticipated from her

employment.

          35.      As a direct and proximate result of the violations of the Rehab Act as referenced

and cited herein, and as a direct and proximate result of the prohibited acts perpetrated against her,

MOISE is entitled to all relief necessary to make her whole.

          36.      As a direct and proximate result of the Defendant’s actions, MOISE has suffered

damages, including but not limited to, a loss of employment opportunities, loss of past and future

employment income and fringe benefits, humiliation, and non-economic damages for physical

injuries, mental and emotional distress.

          WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, and:

   i.           Injunctive relief directing the Defendant to cease and desist from all disability

                discrimination of all employees;

   ii.          Back pay and all other benefits, perquisites and other compensation for employment

                which plaintiff would have received had she maintained her position with Defendant,

                plus interest, including but not limited to lost salary and bonuses;

   iii.         Front pay, including benefits, insurance costs, benefits costs, and retirement benefits;

   iv.          Reimbursement of all expenses and financial losses Plaintiff has incurred as a result of

                Defendant’s actions;

   v.           Declaratory relief declaring the acts and practices of Defendant to be in violation of the

                statute cited above;

   vi.          Reasonable attorney's fees plus costs;

   vii.         Compensatory damages, and;

   viii.        Such other relief as this Court shall deem appropriate.



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COUNT II – VIOLATION OF FLORIDA’S PUBLIC WHISTLEBLOWER ACT (FPWA)

        37.    Plaintiff incorporates by reference Paragraphs 1-22 of this Complaint as though

fully set forth below.

        38.    This Count is timely brought under F.S. §112.3187(8)(c) as MOISE exhausted any

administrative remedies within the meaning of the law.

        39.    At all material times, MOISE was an employee and the Defendant was her

employer covered by and within the meaning of the FPWA.

        40.    MOISE was qualified for the position that she held with the Defendant.

        41.    MOISE did engage in statutorily protected activity.

        42.    MOISE did make several disclosures of the Defendant’s violations of federal, state,

and/or local laws, rules, and/or regulations committed which created and presented a substantial

and specific danger to the public's health, safety, or welfare.

        43.    MOISE did make several disclosures of the Defendant’s gross mismanagement,

malfeasance, misfeasance, nonfeasance, and/or neglect of duty.

        44.    MOISE’s statutorily protected activity occurred prior to the Defendant’s initiation

of any adverse employment action against her.

        45.    MOISE did suffer adverse employment action, which is causally linked to her

engagement in statutorily protected activity.

        46.    MOISE made her written disclosures on her own initiative to the appropriate local

official.

        47.    MOISE was requested to, and did, participate in investigations by CCSO.

        48.    MOISE’s complaints and disclosures constitute a protected activity because her

complaints and disclosures were concerning an unlawful activity of the Defendant.



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       49.     Said protected activity was the proximate cause of the Defendant’s negative

employment actions against MOISE, which included her termination.

       50.     Instead of investigating MOISE’ complaints and lauding her honest reporting of

violations of law, rules and/or regulations or gross mismanagement, malfeasance and misfeasance

of the Defendant, the Defendant retaliated against MOISE by terminating her employment.

       51.     The acts, failures to act, practices and policies of the Defendant set forth above

constitute retaliation in violation of the PWA.

       52.     As a direct and proximate result of the violations of the PWA, as referenced and

cited herein, MOISE has lost all of the benefits and privileges of her employment and has been

substantially and significantly injured in her career path.

       53.     As a direct and proximate result of the violations of the PWA, as referenced and

cited herein, and as a direct and proximate result of the prohibited acts perpetrated against her,

MOISE is entitled to all relief necessary to make her whole as provided for under the PWA.

       54.     As a direct and proximate result of the Defendant’s actions, MOISE has suffered

damages, including but not limited to, a loss of employment opportunities, loss of past and future

employment income and fringe benefits, humiliation, and non-economic damages for physical

injuries, mental and emotional distress.

       WHEREFORE, Plaintiffs request trial by jury of all issues so triable as of right, and:

       i.      Injunctive relief directing the Defendant to cease and desist from all retaliation

               against employees who engage in statutorily protected acts;

       ii.     Back pay and all other benefits, perquisites and other compensation for

               employment which Plaintiff would have received had she maintained her position




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               with the Defendant, plus interest, including but not limited to lost salary and

               bonuses;

       iii.    Front pay, including raises, benefits, insurance costs, benefits costs, and retirement

               benefits;

       iv.     Reimbursement of all expenses and financial losses Plaintiff has incurred as a result

               of Defendant’s actions;

       v.      Declaratory relief declaring the acts and practices of the Defendant to be in

               violation of the statute cited above;

       vi.     Temporary reinstatement;

       vii.    Reasonable attorney's fees plus costs;

       viii.   Compensatory damages, and;

       ix.     Such other relief as this Court shall deem appropriate.

 COUNT III – UNLAWFUL RETALIATION AND WRONGFUL DISCHARGE UNDER
          F.S. § 440.205, WORKER’S COMPENSATION RETALIATION

       55.     Plaintiff incorporates by reference Paragraphs 1-22 of this Complaint as though

fully set forth below.

       56.      MOISE was injured on the job and required medical treatment.

       57.     MOISE promptly reported the worker’s compensation injury to the Defendant and

a worker’s compensation claim was to have been filed.

       58.     MOISE needed medical treatment in regard to her worker’s compensation injury

and she informed the Defendant of her need for the same.

       59.     MOISE required ongoing and future medical treatment, which was compensable

due to her injury occurring in the workplace.

       60.     The Defendant then terminated MOISE as a direct result of the same.

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        61.     Prior to her worker’s compensation injury, MOISE had received consistently good

performance reviews and had not been subjected to discipline.

        62.     MOISE’s attempt to file a worker’s compensation claim, workplace injury and

need for leave to have treatment for her workplace injury are the direct and proximate causes of

the Defendant’s termination of her employment.

        63.     As a direct and proximate result of the Defendant’s actions that violate Florida

Statute §440.205, MOISE has suffered damages, including but not limited to, a loss of

employment opportunities, loss of past and future employment income and fringe benefits,

humiliation, and non-economic damages for physical injuries, mental and emotional distress.

        WHEREFORE, Plaintiff prays that this Honorable Court enter a Judgment in his favor

and against the Defendants for an amount consistent with evidence, together with back pay, front

pay, non-economic damages, the costs of litigation, interest, and reasonable attorneys’ fees.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b) and the Seventh Amendment to the United States, the

Plaintiff demands a trial by jury as to all issues triable as of right.

                                        Respectfully submitted,


Dated: February 13, 2020                /s/ Benjamin H. Yormak
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